 Case 2:10-cr-20581-RHC-MAR ECF No. 28, PageID.159 Filed 10/15/10 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                                Case No. 10-CR-20581
v.


LARI ZEKA


               Defendant(s)
                                           /

                               ORDER DENYING DEFENDANT’S
                            MOTION FOR NOTICE OF 404(b) EVIDENCE
        Pending before the court is Defendant’s motion for notice of 404(b) evidence (Dkt.
#12).
        Eastern District of Michigan Local Rules require that a movant in any motion to
seek concurrence in motions and, if concurrence is not obtained, to report that a
conference between attorneys was held but concurrence was not obtained, or that despite
reasonable efforts the movant was unable to conduct such a conference. E.D. Mich. LR
7.1(a). No exception is made for criminal cases. E.D. Mich. LR 1.1(c) (“These rules apply
in civil and criminal actions.”). The present motion neither mentions nor explains any effort
to seek concurrence and to agree upon a result without involving the court.
        In addition, a mere “request” is all that is required for 404(b) evidence to be
revealed. Formal motions in lieu of requests are clutter. A similar observation applies to a
motion for Brady materials. Brady principles apply with or without a motion.

        Accordingly, IT IS ORDERED that Defendant’s motion (Dkt. #12) is DENIED.

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE
 Case 2:10-cr-20581-RHC-MAR ECF No. 28, PageID.160 Filed 10/15/10 Page 2 of 2




Dated: October 15, 2010


I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, October 15, 2010, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522




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